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                                                                                   CLERK
                                                                             U.S. DISTRICT COURT




          UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                 - - - -DIVISION


          lo,zkk 64/lia n-
          (Full Name)
                                                               Case: 2:23-cv-00639
                                                               Assigned To : Oberg, Daphne A.
                 PLAINTIFF                                     Assign. Date : 9/18/2023
                                                               Description: Cuara v. Eosfitness et al
                 vs.

          L-:tJs nr111£;;s
                  ;    I

                                                CIVIL NO.- - - -
                                                      (Supplied by Clerk)


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     3.      NAME OF FIB.ST DEF,ENDANT
              IS A CITIZEN OF ,5 L.. (
                                                [fj!: 5~:5, <
                                             .:..2 _~ _ ____.:_ _2 _
                              (City and State)

              IS EMPLOYED AS V'i&
                   (Position and Title if Any
                                              ff ul,/            at ,SL C
                                                      (Organization)
                                                                                il1~tJs-        /f-
                    Was the defendant acting under the authority or color of state law at the time these
                    claims occurred?

              YES ~ O _ . If you~ answer is "YES" briefly ~xplain.
                                           ✓'     0                     ' -




     4.       NAME OF SECOND DEFENDANT
              (If applicable)
                                                      11/1 De          Udda.d.&·


              ISACITIZENOF ,5<,( (./
                           (City ani:l State)
                                                      L           l{5"&:


              IS EMPLOYED AS        U                           at. 52,(' {/ / .         l/5/l-
                     (Position and Title if A )        (Organization)
                    Was the defendant acting under the authority or color of state law at the time these
                    claims occurred?

              YES   _Utto_.     If your answer is 11 YES" briefly explain.




      5.      NAME OF THIRD DEFENDANT
              (If applicable)                    -----------
               IS A CITIZEN OF_ _ _ _ _ _ _ _ _ _~ - - - ~
                                  (City and State)
               IS EMPLOYED AS_ _ _ _ _ _ _ _ _ _ at _ _ _ __
                      (Position and Title if Any)  (Organization)
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                   Was the defendant acting under the authority or color of state law at the time these
                   claims occurred?

          YES _      NO_. If your answer is 11 YES 11 briefly explain.




    6.    NAME.OF FOURTH DEFENDANT_ _ _ _ _ _ _ _ __
          (If applicable)

           IS A CITIZEN OF_ _ _ _ _ _ _ _ _ _ _ _ __
                          (city and State)

           IS EMPLOYED AS_ _ _ _ _ _ _ _ _ at _ _ _ __
                  (Position and Title if Any)       (Organization)
                 Was the defendant acting under the authority or color of state law at the time these
                 claims occurred?                                          •

           YES_ NO_. I f your answer is 11 YES 11 briefly explain.




    (Use additional sheets of paper if necessary.)

                                            B. NATURE OF CASE

     I.    Why are you bringing this case to court? Please explain the circumstances that led to the
           problem.                                                                        /         • '   •
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           l!Lrtfc/2 If cf .
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                                  C. CAUSE OF ACTION

I.   I allege that my constitutional rights, privileges or immunities have been violated and that
     the following facts fonn the basis fanny allegations: (If necessary you may attach additional
     pages)

     a.     (I)     Count I:    £02£i1J./FS S
             (2)    Supp01ting Facts: (Describe exactly what each defendant did or did not do.

                                              . _
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                    State the facts clearly in your own words without citing legal authority or
                    arguments,)

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     b.      (1)     CountII:     /1-z/,I t7e re4dan,15

             (2)     Supporting Facts: _ _ _ _ _ _ _ _ _ _ _ _ _ __




      c.      (1)    Count III:
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                   (2)     Supporting Facts:




                                                 D.INJURY

        1.   How have you been injured by the actions of the defendant(s)?

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                    E. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

        I.   Have you filed other lawsuits in state or federal court that deal with the same facts that are
             involved in this action or otherwise relate to the conditions of your imprisonment?
             YES_ _ / NO _ _. If your answer is "YES, 11 describe each lawsuit. (If there is more
             than one lawsuit, describe additional lawsuits on additional separate pages, using the same
             outline.)

             a.             Parties to previous lawsuit:

                             Plaintiff(s): - - - - - - - - - - - - - - - - - - - -
                             Defendant(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

             b.      Name of court and case or docket number:
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     c.      Disposition (for example: Was the case dismissed? Was it appealed? Is it still
             pending?)

     d.      Issues raised: - - - - - - - - - - - - - - - - - - - - - - -




     e.      When did you file the lawsuit?·
                                                      Date    Month    Year


     f.      When was it (will it be) decided? _ _ _ _ _ _ _ _ _ _ _ __

2.   Have you previously sought infonual or formal relief from the appropriate administrative
     officials regarding the acts complained of in Part C? YES__ / NO _ _. If your answer
     is "YES" briefly describe how relief was sought and the results. If your answer is 11 N0 11
     explain why administrative relief was not sought.




                                 F. REQUEST FOR RELIEF

I.    I believe that I am entitled to the following relief:

      [).o.ntdlj{! '2             /j_a5? fXI fk j
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                        DECLARATION UNDER PENALTY OF PERJURY

            The undersigned declares under penalty of perjury that be/she is the plaintiff in the above
    action, that he/she has read the above complaint, and that the infonnation contained therein is true
    and correct. 28 U.S.C. §1746; 18 U.S.C §1621.


    Executed at 2/..C
                {Location)
                           ur t/Slf-on w«    (Dae)
                                                                20.23.




    Signature
